                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                              No. 06-CR-162-LRR
 vs.
                                                               ORDER
 LAMONT WILLIAM PAPAKEE and
 CONNIE FRANCES BLACKCLOUD,
                Defendants.
                                 ____________________

         The Second Superseding Indictment predicates jurisdiction in this matter upon 18
U.S.C. §§ 1151 and 1153. The parties are directed to brief whether this court has
jurisdiction. Specifically, the parties should address (among other issues) whether the
offenses charged in the Second Superseding Indictment, which allegedly occurred “on the
Sac and Fox Tribe of the Mississippi in Iowa Meskwaki Settlement,” occurred in “Indian
country.” See, e.g., United States v. Kasto, 584 F.2d 268, 275 n.8 (8th Cir. 1978)
(permitting defendant to raise same jurisdictional issue in post-conviction proceedings);
Youngbear v. Brewer, 415 F. Supp. 807, 809 (N.D. Iowa 1976) (discussing status of “Sac
and Fox Indian Settlement” in habeas corpus action) (citing State v. Youngbear, 229
N.W.2d 728, 732 (Iowa 1975)); see also Sac & Fox Indians of the Miss. in Iowa v. Sac
& Fox Indians of the Miss. in Okla., 220 U.S. 481, 482-90 (1911) (Holmes, J.) (discussing
history of the Settlement); Sac & Fox Tribe of Miss. in Iowa v. Licklider, 576 F.2d 145,
147-50 (8th Cir. 1978) (similar). Briefs are due on or before March 19, 2007, at 5 p.m.




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  IT IS SO ORDERED.
  DATED this 12th day of March, 2007.




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